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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

EUGENIA II INVESTMENT
HOLDINGS LIMITED (BVI),

                Plaintiff,

v.                                                 Case No: 2:20-cv-843-JLB-NPM

ANTHONY BELISLE,

                Defendant.
                                       /

             Oral Argument Re: [16] First Motion to Dismiss Complaint
                         held via Zoom video conference

 Presiding Judge:                United States District Judge John L. Badalamenti
 Counsel for Plaintiff(s):       Andrew T. Solomon/Paul Summit/John Fisher
 Counsel for Defendant(s):       Joan A. Lukey/Justin Wolosz


 Date and Time:                  April 15, 2021
 Deputy Clerk:                   Shelley Giauque
 Court Reporter:                 Stacey Raikes
 Interpreter:                    n/a


Start Time: 2:30 PM

Court calls case. Counsel enter appearances.

Ms. Lukey provides argument as to the motion to dismiss complaint [16]. Mr.
Summer provides argument. Ms. Lukey replies.

Court takes matter under advisement. The Court will issue a written ruling.

End time:       3:37 PM
